              Case 8:19-cv-00119-PX Document 15 Filed 03/28/19 Page 1 of 2



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

AFFILIATED ENGINEERS
  METRO D.C., INC.,                               *

                 Plaintiff,                       *
         v.                                            Civil Action No. PX-19-119
                                                  *
KATHY A. BARAN, et al.,
                                                  *
                 Defendants.
                                                  *
                                              ********

                    JOINT STIPULATION OF VOLUNTARY DISMISSAL

        It is hereby STIPULATED AND AGREED, by and between the parties, that this action

shall be dismissed with prejudice pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

Procedure. The parties have agreed that USCIS has adjudicated the Form I-129, Petition for a

Nonimmigrant Worker, and changed status, the relief sought by Plaintiff, and this matter is now

moot.

        Each party to this action shall bear its own costs, expenses and attorney’s fees in

connection with this action, including any costs and fees recoverable by law under the Equal

Access to Justice Act or any other applicable provision of law.

                                                             Respectfully submitted,

________________/s/____________                               Robert K. Hur
Dree K. Collopy, Esq., Bar #985545                            United States Attorney
Benach Collopy, LLP
4530 Wisconsin Ave. NW, Ste. 400                              ________/s/_____________
Washington, DC 20016                                          Vickie LeDuc, Bar #805577
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                                                              vickie.leduc@usdoj.gov
                                                              Counsel for Defendants
           Case 8:19-cv-00119-PX Document 15 Filed 03/28/19 Page 2 of 2




                               CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on March 28, 2019, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF System, which will send notice of such filing to all

counsel.


                                                   _________/s/ _______
                                                   Vickie LeDuc
                                                   Assistant United States Attorney




DATED:___________                                  SO ORDERED AND APPROVED:


                                                   ________________________________
                                                   Paula Xinis
                                                   UNITED STATES DISTRICT JUDGE




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